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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF ARKANSAS
                                           CENTRAL DIVISION

    RE: Regina Ireland                                                       CASE NO:       4:17-bk-12745 J
                                                                                                 Chapter 13

                                             ORDER OF DISMISSAL
                                            FOR FAILURE TO MODIFY


         COMES NOW THE COURT, and finds that an Order was entered in the above styled case on February

    08, 2022 requiring the debtor to file a modification within 15 days. The Order further provided for dismissal of

    the case upon the debtor's failure to timely file such modification. From the Court's records herein and from

    statements and arguments of counsel, the Court finds that no modification has been filed and, therefore, the

    case should be and hereby is, dismissed.



    Date: 03/08/2022
                                                                                Phyllis M. Jones
                                                               Phyllis M. Jones
                                                                                U.S. Bankruptcy
                                                               United States Bankruptcy Judge
                                                                                             Judge
                                                               Dated: 03/08/2022


    cc: Jack W Gooding, Trustee

           Matthew D Mentgen (Ach)
           6 Fair Hill Cir
           Little Rock, AR 72205-4801

           Regina Ireland
           960 Links Drive
           Apt 10
           Jonesboro, AR 72404-0775
           All Creditors




EOD: March 8, 2022
